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 Fill in this information to identify the case:
 Debtor name American Mariculture, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA,                                                                          Check if this is an
                                                FT. MYERS DIVISION
 Case number (if known):                                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and complete         Name, telephone         Nature of claim          Indicate if claim   Amount of claim
 mailing address, including zip code   number and email        (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim
                                       address of creditor     debts, bank loans,       unliquidated, or    amount. If claim is partially secured, fill in total claim amount and
                                       contact                 professional services,       disputed        deduction for value of collateral or setoff to calculate unsecured
                                                               and government                               claim.
                                                               contracts)                                   Total claim, if         Deduction for           Unsecured claim
                                                                                                            partially secured value of collateral
                                                                                                                                    or setoff
 Robin Pearl                                                                                                                                                 $1,940,612.83
 14511 Dory Lane
 Fort Myers, FL 33908
 Holland & Knight                                                                                                                                               $280,000.00
 1120 S. Tryon Street
 Charlotte, NC 28203
 O'Connor Hernandez &                                                                                                                                           $169,757.75
 Associates, P.A.
 999 Brickell Ave, Suite 740
 Miami, FL 33131
 Internal Revenue Service                                                                                                                                       $155,000.00
 Centralized Insolvency
 Operations
 P.O. Box 7346
 Philadelphia, PA 19101-7346
 Blue Street Capital, LLC                                                                                                                                       $143,218.36
 17011 Beach Blvd., #710
 Huntington Beach, CA 92647
 Zeigler Bros Inc                                                                                                                                               $131,257.44
 400 Gardners Station Rd.
 Gardners, PA 17324
 Rangen, Inc.                                                                                                                                                   $116,734.26
 1500 E. Cedar St.
 Angleton, TX 77515
 Melville G. Brinson, III P.A.                                                                                                                                  $116,734.26
 8359 Stringfellow Rd.
 Unit A. Suite 102
 St. James City, FL 33956
 Florida First Capital Finance                                                                                                                                  $100,000.00
 Corp.
 1351 N. Gadsden St.
 Tallahassee, FL 32303
 LCEC                                                                                                                                                            $92,127.13
 4980 Bayline Drive North
 Fort Myers, FL 33917


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 Debtor    American Mariculture, Inc.                                                                Case number (if known)
           Name

 Name of creditor and complete         Name, telephone         Nature of claim          Indicate if claim   Amount of claim
 mailing address, including zip code   number and email        (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim
                                       address of creditor     debts, bank loans,       unliquidated, or    amount. If claim is partially secured, fill in total claim amount and
                                       contact                 professional services,       disputed        deduction for value of collateral or setoff to calculate unsecured
                                                               and government                               claim.
                                                               contracts)                                   Total claim, if         Deduction for           Unsecured claim
                                                                                                            partially secured value of collateral
                                                                                                                                    or setoff
 Chase Bank                                                                                                                                                      $75,000.00
 P.O. Box 15299
 Wilmington, DE 19850-5299
 WEG Electric Group                                                                                                                                              $38,551.37
 6655 Sugarloaf Parkway
 Duluth, GA 30097
 Comcast                                                                                                                                                         $34,477.00
 PO Box 8587
 Philadelphia, PA 19101-0601
 Tax Projects Group, LLC                                                                                                                                         $32,165.00
 581 Knotty Pine Dr.
 Incline Village, NV 89451-8415
 Continental Carbonic                                                                                                                                            $22,067.14
 Products, Inc.
 Dept 3833
 PO Box 123833
 Dallas, TX 75312-3833
 Tim Morris                                                                                                                                                      $21,527.41
 4937 Sandpiper Drive
 Saint James City, FL 33956
 Willscot Mobile Mini                                                                                                                                            $16,741.92
 4646 East Van Buren St., #400
 Phoenix, AZ 85008
 LGC Genomics, LLC                                                                                                                                               $16,471.00
 P.O.Box 392301
 Pittsburgh, PA 15251-9301
 P1 Finance                                                                                                                                                      $16,381.36
 13601 McGregor Blvd., #15
 Fort Myers, FL 33919
 Waste Pro USA, Inc.                                                                                                                                             $11,180.16
 13110 Rickenbacker Pkwy.
 Fort Myers, FL 33913




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1.8.2025
